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UNITED STATES DISTRICT COURT
DISTRICT OF NEW MEXICO

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CARL WILSON, an individual, and hee
AUDREE WILSON, an individual, VEO Rog SIP (ite

 

Plaintiffs,

94 Civ. 892 (JC)
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HARPERCOLLINS PUBLISHERS INC.,
a Delaware corporation,

Defendant. 3

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT'S MOTION FOR
SUMMARY JUDGMENT ON PLAINTIFF CARL WILSON'S LIBEL CLAIMS

William S. Dixon

RODEY, DICKASON, SLOAN,

AKIN & ROBB, P.A.
Albuquerque Plaza

201 Third Street NW,

Suite 2200

Albuquerque, New Mexico 87103
Telephone: (505) 768-7266

R. Bruce Rich

Elizabeth Stotland Weiswasser
WEIL, GOTSHAL & MANGES LLP
767 Fifth Avenue

New York, New York 10153
Telephone: (212) 310-8000

Attorneys for Defendant,
HarperCollins Publishers Inc.

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW MEXICO

 

 

CARL WILSON, an individual, and
AUDREE WILSON, an individual,

Plaintiffs,
v. 94 Civ. 892 (JC)

HARPERCOLLINS PUBLISHERS INC.,
a Delaware corporation,

Defendant.

 

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT'S MOTION

FOR _ SUMMARY JUDGMENT ON PLAINTIFF CARI, WILSON'S LIBEL CLAIMS
—_—_—“_—_——— Sr SSE NTE CARE WILSON'S LIBEL CLAIMS

PRELIMINARY STATEMENT

HarperCollins Publishers Inc. ("HarperCollins")
submits this memorandum in support of its motion, pursuant to
Rule 56 of the Federal Rules of Civil Procedure, for entry of
summary judgment in its favor as to Plaintiff Carl Wilson's
("Carl's" or "Mr. Wilson's") libel claims as contained in the
Second Amended Complaint ("Complaint").

Mr. Wilson's libel claims against HarperCollins
allege that he has been injured by the publication of a number
of passages in Wouldn't It Be Nice -- My own Story ("the
book"). To recover on such claims, Mr. Wilson has the burden
of proving a number of constitutionally-imposed elements,
including, that the challenged passages contain false and
defamatory assertions of fact that are of and concerning him.

To be discussed in greater detail below, the now fully-

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developed discovery record establishes that Mr. Wilson cannot,
as a matter of law, discharge one or more of such burdens as to
each of the challenged passages.

The discovery record has shown Mr. Wilson's most
serious allegations -- that HarperCollins falsely portrayed Mr.
Wilson as a purchaser of illegal narcotics and an abuser of
alcohol -- to be frivolous and, one must conclude, pled in bad
faith. The challenged portrayals are absolutely true and Mr.
Wilson knew them to be so when he filed his Complaint.

As we detail in Point I below, in his deposition in
this case, Mr. Wilson has admitted both to a history of
purchasing and abusing illegal narcotics and to engaging ina
persistent pattern of alcohol abuse. When Mr. Wilson attempted
to cover his tracks in one particular -- a reported episode
involving his purchase of heroin -- he was caught flat-footed.
Mr. Wilson denied under oath his involvement in such activity,
unaware that HarperCollins had come into possession of a taped

interview in which Mr. Wilson admitted to the very transaction

 

his complaint assails as false. A copy of that tape
accompanies this motion.

Mr. Wilson's cynical misuse of court process to
punish what he regards as unfavorable portrayals -- whatever
their truthfulness -- infects the balance of the allegations
leveled against HarperCollins. As we demonstrate in Point II,
the discovery record reveals that the remaining passages

complained of are also not actionable insofar as they: are

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true; are not defamatory; are not of and concerning Mr. Wilson
or the Beach Boys; and/or are non-verifiable expressions of
opinion.

Because it is now clear that Mr. Wilson will be
unable as a matter of law and uncontested fact to establish one
or more elements of his libel claims as to each of the
challenged passages, HarperCollins is entitled to judgment at
this stage of the proceedings as a matter of law.

STATEMENT OF UNCONTESTED MATERIAL FACTS

The facts relevant to this motion are set forth in
the ensuing discussion of each allegedly defamatory statement
giving rise to Mr. Wilson's action. Relevant portions of Mr.
Wilson's deposition, conducted on November 6-8, 24, and 26,
1996, as well as other documents pertinent to disposition of
this motion, are annexed as Exhibits hereto.

ARGUMENT

A libel plaintiff bears a number of heavy burdens in

seeking to recover for alleged injury to reputation. The

plaintiff must prove, inter alia, that the challenged

 

publication contains false and defamatory assertions of fact

that are of and concerning the plaintiff. See Philadelphia

Newspapers, Inc. v. Hepps, 475 U.S. 767, 775-76; New York Times

Co. v. Sullivan, 376 U.S. 254 (1964). As will be demonstrated

 

below, the now fully developed discovery record makes plain

that each of the passages challenged by Mr. Wilson fails to

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satisfy one or more of these constitutional requirements.
Accordingly, HarperCollins is entitled to judgment as a matter
of law as to each of Mr. Wilson’s claims for relief.
I. THE UG AND ALCOHOL PASSAGES E_ TRUE

A. The Governing Law

Beginning in 1964 with New York Times Co. v.

 

Sullivan, 376 U.S. 254, the Supreme Court has emphasized that
the First Amendment absolutely precludes states from
sanctioning speech that is true. Thus, in a libel case, the
plaintiff bears the burden of proving the challenged statement
to be false. Hepps, 475 U.S. at 775-76. A statement will not
be considered "false" for purposes of this inquiry if its
"gist" or "sting" is substantially true. Masson v. New Yorker
Magazine, Inc., 501 U.S. 496, 516 (1991). That is, "[mJinor
inaccuracies do not amount to falsity so long as ‘the
substance, the gist, the sting, of the libelous charge be
justified.'" Id. at 517 (quotations omitted).

In view of these principles, courts routinely grant
summary judgment in favor of a libel defendant when the record
reveals that the plaintiff is unable to meet its burden of

proving falsity.’ Here, as shown below, the discovery record

 

1. See, e.g., Haynes v. Alfred A. Knopf, Inc., 8 F.3d 1222,
1227 (7th Cir. 1993); Unelko Corp. v. Rooney, 912 F.2d 1049

(9th Cir. 1990), cert. denied, 499 U.S. 961 (1991); Estiverne
v. Louisiana State Bar Assoc., 863 F.2d 371 (5th Cir. 1989);
Vachet v. Central Newspapers, Inc., 816 F.2d 313 (7th Cir.

1987); Waring v. William Morrow & Co., Inc., 821 F. Supp. 1188,
(continued...)

 

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not only makes plain Mr. Wilson’s inability to prove falsity,
it clearly and undeniably establishes the absolute truth of the
drug and alcohol passages, and any reasonable inference that
might be drawn therefrom. Accordingly, these passages are not
actionable and HarperCollins is entitled to judgment as a

matter of law.

B. The Truth of the Passages

Of the various claims by Carl Wilson of injury to
reputation from statements contained in the book (see Complaint
{7 19, 20, 30), clearly the most serious from the standpoint of
social reprobation -- and unsurprisingly those that lead Mr.
Wilson's list -- relate to his abuse of alcohol and his
purchase of illegal narcotics. Respecting these subjects, Mr.
Wilson contends that identified passages in the book "falsely
portray Carl as an abuser of alcohol" and "falsely impute to
him involvement in the purchase of illegal narcotics." See id.
q 20.

The discovery record reveals Mr. Wilson's flagrant
abuse of court process in levelling these charges. That record

now reveals that the statements he challenges are absolutely

 

1. (...continued)

1190 (S.D. Tex. 1993); Hickey v. Capital Cities/ABC, Inc., 792

F. Supp. 1195 (D. Or. 1992), aff'd, 999 F.2d 543 (9th Cir.
1993); Vetere v. Associated Press, Inc., 16 Media L. Rep. 1591,

(S.D.N.Y. 1989); Robinson v. U.S. News & World Report, Inc., 16

Media L. Rep. 1695 (N.D. Ill. 1989); Basilius v. Honolulu

Publishing Co., Ltd., 711 F. Supp. 548 (D. Haw.), aff'd, 888
F.2d 1394 (9th Cir. 1989).

 

 

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and undeniably true: Mr. Wilson has a history of purchasing
illegal narcotics and has engaged in a persistent pattern of
alcohol abuse. HarperCollins did not level these charges
falsely, let alone with knowledge of their falsity; to the
contrary, it is Mr. Wilson's complaint that is knowingly false.

Following is what the record facts, in Mr. Wilson's
own words, reveal.

1. Mr. Wilson's Illegal Purchases of Narcotics

a. Cocaine
Mr. Wilson testified at his deposition that he has

been an illegal purchaser and user of cocaine:

Q: - - - I believe you testified you were snorting
cocaine?
A: Yes sir.

Q: And was it only in that '76/'77 period when you were
snorting cocaine?

A: I think I snorted cocaine maybe once or twice before
that. And then it became a problem right there, that
'76 time period. '70 — maybe Christmastime or right
around the holiday time, '75. Right at '76.

Q: And how would you describe the level of cocaine use
during that period by you?

A: I'd say as much as, like nearly a gram a day.

Q: However much [cocaine] you were using, how did you

procure it?

Well, I think I would call a coke dealer sometimes.

And other times?

Pr OO Pp

: Be given to me.

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Q: By?
A: I don't remember.
Q: Fellow users?

A: Perhaps.

Q: Did you have any one regular source of supply when
you_used a dealer?

Yes, sometimes.

A
Q: Did you pay to — pay money to this supplier?

A: Yes.
Q: Do you remember what the going rate was at the time?
A: I think a hundred dollars maybe a gram.

Deposition Transcript of Carl Wilson ("Dep. Tr.") 435-436, 438
(emphasis added) .2

See also Dep. Tr. 442.

 

Against this reality, Mr. Wilson at his deposition
attempted to retreat to the far more limited contention that
the book incorrectly reports the "timing" of his cocaine abuse,
see Dep. Tr. 444. Even this retreat was futile. When
confronted with the specific passage he claimed demonstrated
the alleged error (see book at 251, "Carl was coming off a long

cocaine problem") ,? its accuracy was in fact confirmed.’

 

2. The deposition testimony of Mr. Wilson cited herein is
attached hereto as Exhibit A. Plaintiffs have consented to
HarperCollins' inclusion of exhibit pages in excess of fifty.

3. Copies of passages from the book cited herein are attached
hereto as Exhibit B.

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Mr. Wilson's deposition testimony thus clearly
establishes as true what the complaint asserts to be false --
that Mr. Wilson has been "involv[ed] in the purchase of illegal
narcotics."

b. Heroin

Mr. Wilson's Complaint also challenges as knowingly
false a passage from the book relating to a heroin incident in
Australia in 1978. This passage states: "Carl, trying to calm
the turbulence by admitting his involvement in the purchase of
the heroin, ended up getting punched in the face by Rocky."
Book at 252; Complaint q 19.

The pattern of Mr. Wilson's testimony in relation to
this allegation is more troubling even than his deliberate
filing of false accusations against HarperCollins. As we
demonstrate, Mr. Wilson chose at his deposition to testify
falsely under oath concerning his involvement in this incident,
by vehemently asserting the falsity of this passage, and
repeatedly and emphatically denying that he had purchased the
heroin involved in the incident. See Dep. Tr. 453-55.

What Mr. Wilson did not know in so testifying was

that, through diligent investigation, in the days immediately

 

4. (...continued)
4. Mr. Wilson claims that he stopped using cocaine late in the
summer of 1977. See Dep. Tr. 490. The timing of the book's
reference to Carl's "coming off" of his cocaine problem is the
beginning of 1978 -- in other words its characterization is
entirely correct. Mr. Wilson's quibble over whether he was
still literally "coming off of" his cocaine addiction in early
1978, see Dep. Tr. 487-90, amounts to semantics.

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preceding his deposition, HarperCollins came into possession of
a published article and an audio cassette tape containing
admissions made by Mr. Wilson in relation to the Australia
incident. The article, entitled "Trauma Amid the Tippling: the
Carl Wilson Booze-In," was written by an Australian journalist
named Anthony O'Grady, and published in an Australian magazine
on April 21, 1978. The article reported on an interview
conducted by Mr. O'Grady with Mr. Wilson during which Mr.
Wilson admitted to making two heroin purchases in Australia in
1978.° See Exh. A to O'Grady Aff. (Exh. C hereto). The
article contains two photographs of Mr. Wilson taken by a
female photographer at the time of the interview. The O'Grady
article quotes Mr. Wilson as stating: "[S]Jomeone said someone
in the group was on heroin... SoTI.. . naturally being
the mediator of the group, I was the one who made the buy...
{and then] . . . I_made another buy ...." Id. (emphasis
added).

When shown the article at his deposition, Mr. Wilson
acknowledged having known of the existence of the article
previously, as well as having engaged in 1978 in an interview
with "a guy in Sidney" at which a female photographer was

present, id. 492-93. He nevertheless maintained that Mr.

 

5. Details of the circumstances under which the interview took
place and the identities of the parties present are contained
in Mr. O'Grady's October 29, 1996 affidavit (hereinafter
"O'Grady Aff."), annexed hereto as Exhibit C.

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O'Grady had misquoted him and emphatically denied his reported
admission to making two "buys" of heroin. See Dep. Tr. 500.

When counsel for HarperCollins advised Mr. Wilson
that it possessed an audio cassette tape containing a recording
of the complete interview on which the O'Grady article was
based, his counsel refused to allow Mr. Wilson to testify as to
its contents prior to being afforded an opportunity to listen
to it privately. Counsel for HarperCollins accordingly
provided Mr. Wilson with copies of the tape and a transcript of
it which they had prepared.®

At a deposition session convened some several weeks
later, Mr. Wilson testified to the essential accuracy of the
transcription of the tape, no longer flatly denied making the
statements attributed to him, and could only muster as a

response that he did not remember making such statements and

 

6. A copy of the tape is included herewith as Exhibit D. The
O'Grady affidavit attests to the manner in which the tape was
prepared and stored until it was transferred to HarperCollins
on October 29, 1996. See Exh. C hereto. A copy of the
transcription that was prepared by HarperCollins' counsel and
marked as Exhibit 40 at Mr. Wilson's deposition is attached
hereto as Exhibit E. Attached hereto as Exhibit F is a copy of
Mr. O'Grady's December 13, 1996 supplemental affidavit, which
includes Mr. Grady's own transcription of the tape recording of
his interview with Carl Wilson, which is substantially
identical with respect to the passage at issue as that prepared
by HarperCollins' counsel and provided to Mr. Wilson.

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that the voice on the tape "sounded funny" to hin. See Dep.

Tr. 613-22, 628.

The record evidence on the 1978 heroin incident is
clear: HarperCollins got the facts right; Mr. Wilson's denials

have been exposed as lies.

2. Mr. Wilson's Abuse of Alcohol

 

Mr. Wilson's contentions that HarperCollins knowingly
falsely portrayed him as an abuser of alcohol have now been
shown to be no less brazen than his narcotics-related claims.
Following is what Mr. Wilson had to say at his deposition

concerning his use of alcohol:

Q: Was there ever a period of time when you were
suffering the effects of use of alcohol in excess any
time in your life.

A: Yes.

Q: Can you identify what period or periods those would
have been, please?

A: The period was the mid '70s until early '80s.

Q: And during that period of time, Mr. Wilson, did you
seek any medical assistance in connection with your
consumption of alcohol? [Objection omitted]

A: No. I don't think I did.

Q: And that includes not consulting to your recollection
Dr. Gans about that issue; is that correct?

 

7. Mr. Wilson was unable to offer any explanation of how a
reported interview with him, accompanied by photographs of hin,
previously published and not challenged by him, attested to by
the reporter, occurring at a time when Mr. Wilson recalls
having given such an interview, and all captured on tape, in
fact is anything other than authentic. See Dep. Tr. 613-16,
620-22, 628.

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A: I don't — I don't have a present recollection of
talking to Dr. Gans and saying, you know, "I need
some help with alcohol." I may have because I did, I
did back in the '70s. I drank heavily, heavily. I
mean terribly so.

Q: Can you describe your drinking habits during this
period of what you describe as heavy, heavy
consumption? Were you drinking on a regular basis?
Were you a binge drinker? Were you a day drinker?
Were you a night drinker?

A: Yes. All of it. All of it. It really kind of got
like that in '70 - 1977 and - to '78. Very much so
until the summer of '78. And then it was just — it
wasn't binge drinking after that. It was like heavy
drinking. But the really terrible abuse was back
there in the '70s, especially '77, '78 after I
stopped doing cocaine.

Dep. Tr. 428-430 (emphasis added); see also id. 624.

 

 

In the face of such testimony, that Mr. Wilson would
purport to bring a defamation action, a lead allegation of
which is that he has been falsely charged with abusing alcohol,
is not merely wasteful of judicial and private resources; it
demeans the court process itself.

II. THE REMAINING PASSAGES ARE NOT ACTIONABLE

 

Mr. Wilson's remaining attack on the book centers on
claimed defamatory passages which either do not bear the
defamatory "sting" ascribed to them, do not relate to Mr.
Wilson, are substantially true, or are non-verifiable
expressions of opinion.

A. The Governing Law

The general legal principles which bear on the

ensuing analysis derive from the recognition, as earlier noted,

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that a defamation plaintiff bears the burden of proving, inter

 

alia, that the statement he purports to challenge is a false,
defamatory, assertion of fact that is of and concerning the
plaintiff.

i) False .. . assertion of fact. The
constitutional parameters of the falsity element have been set
forth above. As many of the remaining challenged passages are
provably true, Mr. Wilson cannot recover based upon then.

Moreover, in view of the plaintiff's burden of
proving falsity, a statement that is not "provable as false,"
i.e., not verifiable by objective facts, is entitled to full
constitutional protection. See Milkovich v. Lorain Journal
Co., 497 U.S. 1, 19-20 (1990). In a similar vein, when a
defamation claim is based not on the actual statements in a
text, but on an implication allegedly arising out of otherwise
truthful statements, the plaintiff bears an extremely heavy --
if not insurmountable -- burden in establishing that such an
implication is actionable. See Andrews v. Stallings, 119 N.M.
478, 486 (N.M. Ct. App. 1995), and discussion infra.

ii) Of and concerning. The "of and concerning"
requirement is also one of constitutional dimension which
requires that the challenged statement be "specifically
directed at the plaintiff." Rosenblatt v. Baer, 383 U.S. 75,

81 (1966); see also New York Times, 376 U.S. at 292. Where, as

is the case with respect to a number of the challenged

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passages, the defamatory sting, if any, is not directed to Mr.
Wilson, he cannot recover.

iii) Defamatory. Under New Mexico law, a statement
will not be regarded as defamatory absent a showing of its
tendency to render its target "contemptible or ridiculous in
public estimation, or expose him to public hatred or contempt
or hinder virtuous men from associating with him." See Bookout
v. Griffin, 97 N.M. 336, 539 P.2d 1190, 1193 (1982). A number
of the challenged passages may be embarrassing to Mr. Wilson or
cause him discomfort -- but that alone does not render them
actionable. See West v. Thomson Newspapers, 872 P.2d 999, 1009
(Utah 1994).

B. The Count Two Passages

1. The Trust Passages Are Not Defamatory and Are
Substantially True

Mr. Wilson alleges that the following passages
concerning the Brian Wilson Trust of 1982 defame him by falsely
stating that he: "wrongfully withheld money that was payable
to Brian;" "obtained control over Brian's funds and Brian's
position within the Beach Boys' corporation by trick and for
improper purposes;" and "was surreptitiously trying to trick
him [Brian] as regards to the trust" (see Complaint { 20; Dep.

Tr. 443):5

 

8. Throughout the Complaint, plaintiffs provide inaccurate

quotations of the challenged passages from the book. While

some of these inaccuracies are immaterial to the issues before
(continued...)

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As soon as the Beachboys returned to L.A., he [Carl]
had me sign a trust document, giving him control of
both my money and my vote in the Beach Boys
corporation, Brother Records, Inc. I didn't know
what I was signing, though he assured me it was for
my own benefit and protection.

Book at 268; see Complaint § 19.

Early in 1986 Carl threw his weight into the war
against Dr. Landy, a move that triggered everyone's
long-simmering acrimony and distrust toward my friend
and therapist. The Beachboys loathed the
independence Dr. Landy was giving me. They hated
that I was beginning to be able to say no to them and
act on my own thoughts. They resented that I wrote
songs, not with Dr. Landy, but without them. They
accused him of being a Svengali who was holding me
captive.

The struggle escalated when Carl began with-
holding my paychecks and money. That authority was
his through the Brian Wilson Trust of 1982, which
he'd had me sign prior to Dr. Landy's beginning
treatment again. As trustee, he controlled both my
corporate vote in the Beach Boys corporation Brother
Records Inc., and all my money, property, and stocks.

In Carl's opinion, the trust was supposed to
protect me from Dr. Landy, but as I got saner, I
began questioning my brother. I couldn't remember
signing the document in the first place. I was too
incompetent at the time to know what I was signing.

Book at 332-33; see Complaint @ 19.

Not even the most strained reading of these passages
could support Mr. Wilson's allegations regarding trickery and
wrongful withholding of money. These passages neither state
nor in any way imply that Mr. Wilson tricked Brian into signing

the trust document or wrongfully withheld money from Brian.

 

8. (...continued)

the Court, others substantially alter the context of the
passages. For purposes of the instant motion, HarperCollins
has accurately reproduced each challenged passage, noting where
plaintiffs' pleadings represent material alterations.

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Mr. Wilson's "spin" on these passages is entirely fabricated.
These passages state only that Carl had Brian sign the trust
document prior to re-engaging Landy, that Carl was a trustee
with authority to control Brian’s assets, that Carl believed
that the trust was supposed to protect Brian from Landy, and
that Brian was incompetent when he signed the trust and could
not remember signing it. Mr. Wilson's deposition testimony
establishes the substantial truth of each of these facts.

Mr. Wilson testified that the trust was set up on
behalf of Brian in anticipation of re-engaging Landy to treat
Brian. Dep. Tr. 654. He stated that the intention in setting
up the trust was to protect Brian from Landy's financial abuse,
which he viewed "as dangerous to Brian's financial well-being
in terms of diverting assets and revenue to himself away from
Brian." Id. 648, 653-54. He further testified that when the
trust was created, there was a general perception that Brian
lacked physical, psychological, and mental capacity to handle
his own financial affairs and to think lucidly and reason. Id.
651, 663, 667, 676-77. In view of his lack of capacity, there
can be no dispute as to the sincerity of Brian's perceptions as
set forth in the book that "[he] couldn't remember signing the
document in the first place," "was too incompetent at the time
to know what [he] was signing," and that "[he] didn't know what

[he] was signing, though [Carl] assured me [Brian] it was for

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my own protection." Mr. Wilson essentially conceded as much.
See Dep. Tr. 677-78.

Mr. Wilson testified that he was a co-trustee, but
that he "didn't really know" the nature of his responsibilities
in relation to Brian's financial affairs. See Dep. Tr. 655;

see also id. 657-71. The Declaration of Trust (i.e., the

 

document establishing the trust), however, expressly confers on
each co-trustee (i.e., Carl Wilson and John Branca) the power
to retain all property within the scope of the trust, and
further requires that all decisions be made by the co-trustees'
unanimous vote. See Declaration of Trust Art. 2, 4 11; Art. 3,
§ 1 (Exh. G hereto). Mr. Wilson's testimony and the trust

document itself thus establish that Carl was in fact a trustee

with authority to control Brian's assets.

Indeed, Mr. Wilson testified that John Branca, the
other co-trustee, made significant financial decisions on
behalf of Brian. See Dep. Tr. 657. Mr. Wilson further
testified that he was sent statements relating to Brian's
finances, particularly those relating to therapy expenses. See
id. 658. Accordingly, Mr. Wilson's deposition testimony
substantiates the challenged trust passages and any reasonable

inferences that might be drawn therefrom.

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2. Re-engaging Landy to Treat Brian
Mr. Wilson alleges that a passage in the book

concerning efforts on the part of Carl and his lawyer/manager
to re-engage Landy to treat Brian falsely suggests that he “was
willing to risk Brian's life to save money," and "was only
interested in money and not in his [Brian's] well-being." See
Complaint 4 20; Dep. Tr. 443. In so alleging, Mr. Wilson
misrepresents the tenor and context of the challenged passage
by omitting the language which is underscored below (see
Complaint { 19):

Within a week Carl was in Dr. Landy's office, asking
how much the treatment would cost. ‘About half a
million dollars,' Dr. Landy said. [Discussion about
terms of treatment]...

They knew each other well. Dr. Landy explained
himself clearly, Knowing Carl was going to take the
information he got from the meeting and tell Marilyn,
who had helped him through the dissolution of his
marriage and now was providing him comfort in dealing
with me.

[Discussion of Landy's psychology philosophy]

‘I understand,' Carl said.

‘This time, Carl,' Dr. Landy said, ‘be a
musician. Don't try to be a doctor.' Carl never
liked Dr. Landy's bluntness and was scared of hin.

[More discussion about treatment philosophy. ]

In June 1983, two months after the first
emergency phone call, Dr. Landy met with Tom Hulett
and the Beach Boys' business managers, lawyers, and
staff to discuss the same things he had gone over
with Carl.

[In context of conversation with Landy's
secretary regarding non-payment of past-due bills, ]
Carl and Al complained Dr. Landy's fees were
outrageous.

[In context of another meeting regarding re-
engaging Landy to treat Brian,] [p]redictably, the
first thing they wanted to discuss wasn't my health,
it was Dr. Landy's fee.

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‘We want him to get well,' Mike said.

‘T don't care if he ever sings, plays again, or
makes one more note of music,' said Carl.

‘Yeah, we just want him to be well and happy,'
added Mike.

Book at 273-76 (emphasis added); Complaint ¢ 19.

a. This Passage is Not Defamatory

It is a well-established principle of defamation law
that a court must view the challenged passage as a whole in
ascertaining whether it is susceptible of a defamatory
interpretation. See ROBERT D. SACK & SANDRA S. BARON, LIBEL,
SLANDER, AND RELATED PROBLEMS 76 (2d ed. 1994), and cases cited
therein. Thus, it is improper to pick out and isolate
particular words or phrases and determine whether, considered
alone, they are defamatory. Id.

Applying these principles here, Mr. Wilson's
allegations that this passage portrays him as more concerned
about money than about his brother's health and "was willing to
risk Brian's life to save money" are clearly untenable.

Indeed, when read as a whole, this passage is not reasonably
susceptible of any defamatory interpretation, as Carl's concern
about Landy's fees is clearly depicted as secondary to his
interest in helping Brian to get well. Specifically, following
the discussion of Landy’s fees, Mike Love is quoted as saying,
"We (which includes Carl] want him [Brian] to get well,"
followed by a quote from Carl: "I don't care if he [Brian]

ever sings, plays again, or makes one more note of music," and

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concluding with a quote from Mike Love: "Yeah, we [which
includes Carl] just want him to be well and happy." Book at
276 (emphasis added). Thus, considered in its entirety -~
i.e., in the context of the material language that Mr. Wilson
intentionally omits from his complaint -- this passage portrays
Carl in precisely the opposite way of that which is alleged.

In sum, this passage is simply not defamatory.
b. Any Defamatory Sting of this Passage of
this Passage is Substantially True and Not
Actionable In any Event

To the extent Mr. Wilson would focus on the passage's
description of his and the group's concern over the cost of Dr.
Lanay's treatment, the deposition testimony of Mr. Wilson
establishes its substantial truth. Mr. Wilson testified that
prior to re-engaging Landy, he had a conversation in Landy's
office with Landy and Jerry Schilling (Carl's manager/lawyer)
regarding the financial terms of the proposed engagement. Dep.
Tr. 726. Mr. Wilson testified that Landy gave him a fee
estimate of $800,000, about which Mr. Wilson stated: "Well, it
could be observed that it's an extremely high fee for a
psychologist to receive." Id. 661.

Mr. Wilson testified that he thought that Landy "was
out to make as much money as he possibly could," that he "knew
that Landy was overpriced," and it "could have been easily
observed" that Landy's fees were Nexorbitant." Dep. Tr. 731,

735. Mr. Wilson further testified that another member of The

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Beach Boys, Al Jardine, also believed Landy's fees to be
exorbitant, that Al Jardine expressed his view to Landy, and

that it is possible that he (i-e., Carl) could have expressed a

 

similar view. Id. 735-38. Finally, Mr. Wilson testified that
he tried to keep Landy's therapy expenses “at bay." Id. 658.
Mr. Wilson's and the group's motivation to limit Brian's
therapy expenses is supported by the fact that the Beach Boys
were funding Brian’s therapy. See id. 740-41.° Thus, it is
abundantly clear from the record that Carl was in fact
concerned about Landy's fees.

Finally, to the extent that Mr. Wilson is challenging
Brian's perspective as to Carl's motivation for not hiring
Landy, such motives are not susceptible of being verified as
true or false and are thus not actionable. See discussion
infra; see also Haynes v. Alfred A. Knopf, Inc., 8 F.3d 1222,
1227 (7th Cir. 1993) (Posner, J.) ("As for Luther's motives for

leaving Ruby for Dorothy, they can never be known for sure

 

9. Regarding the remainder of the passage -- which Mr. Wilson
does not allege to be defamatory of him -- it too is
substantiated by Mr. Wilson's deposition testimony. Mr. Wilson
testified that he discussed with Marilyn Wilson the subject of
re-retaining Landy. See Dep. Tr. 728. The sincerity of
Brian's perception that Carl was "scared of Landy" is supported
by Carl's testimony that he viewed Landy as "arrogant,"
"egotistical," "crazy," liking "to play games," and "attempting

to use techniques of intimidation in his interpersonal
dealings." See id. 729-31.

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(even by Luther) and anyone is entitled to speculate ona
person's motives from the known facts of his behavior.").'
3. The BMQA Passage is Not Defamatory
Mr. Wilson challenges the following passage:
Filed by the attorney general's office, the [Board of
Medical Quality Assurance's (BMQA's)] charges
originated with a complaint filed by Carolyn Williams
in 1984. They were then fueled by the journal Gary
Usher compiled while we wrote songs together the
previous year and pressed by Marilyn and Carl.
Book at 351; Complaint ¢ 19. Mr. Wilson alleges that he did
not press the BMQA charges and that the passage injures his
reputation by "suggest[ing] that [he] was trying to use the BMQ
[A] to undermine Brian's therapy and... that [he] was
interfering or being unethical in some way." Dep. Tr. 768.
This passage makes no such assertion about Mr. Wilson
and in no way leads to such an implication. Mr. Wilson’s
interpretation is particularly unreasonable -- indeed,
outlandish -- when the passage is considered in the context in

which it appears in the book, which makes clear that the BMOQA

investigated Landy for ethical violations and that the outcome

 

10. Mr. Wilson also challenges a passage in the book relating
to efforts on the part of Carl and his manager/lawyer to engage
Landy to treat Dennis. The passage states that Carl considered
the price "too steep .. . for the Beach Boys to carry." See
book at 311-12; Complaint ¢ 19. The same deposition testimony
discussed in the foregoing section regarding Carl's view of the
magnitude of Landy's fees supports the substantial truth of
this passage. Further, while Mr. Wilson fails to allege how
this passage is defamatory, any challenge as to Brian's
perspective with regard to Carl's motives for not hiring Landy
is not actionable for the reasons set forth above.

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of the proceeding was favorable, i.e., that Landy surrendered

 

his license. See book at 351-52. Thus, this passage in its
proper context would vindicate the position of those who
"pressed" the charges. It is simply inconceivable that a
statement concerning the "pressing" of a meritorious ethics
investigation could be considered defamatory. Thus, even if

this passage incorrectly states that Mr. Wilson "pressed" the

BMQA charges, it is not defamatory and thus not actionable.

4. The "Callousness" Allegation

Mr. Wilson complains that two passages in the book --

both of which relate to Brian's perception that Carl failed to
talk to him at certain times -- "falsely suggest that he was

callous and unconcerned about his brother Brian's physical and
emotional health," and "call{] into question . . . [his] love
for Brian" (see Complaint 20; Dep. Tr. 443). These passages

read as follows:

. . . I flew back to San Francisco that night,
Sunday, for another show. .. . For the first hour
or so, Mike, Al, and Carl avoided me like the plague.

Then I decided to take action. I found Carl in
his dressing room and asked if he wanted to talk
about what was going on.

‘I can't, Brian,' he said. ‘I've got to take
care of some business I've got going in Colorado.'

‘you have to do that right now?' I asked.

‘I've been planning to make a few calls,' he
said. ‘I guess that's what I'm going to do. ['ll
catch you later.'

It was clear they were shutting me out. I don't
know why I expected anything more.

Book at 371; Complaint 4 19.

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In the first week of March [1991] Carl suddenly
accelerated the conservatorship case. - + > carl
never once tried to talk to me personally. He showed
absolutely no sensitivity that I was being stripped
of my dignity and rights as a human being.

Book at 387; Complaint q 19.

In its motion to dismiss, HarperCollins asserted
these passages to be devoid of defamatory meaning and protected
statements of opinion. The Court denied the motion on the
ground that both issues presented questions of fact preventing
disposition on the face of the pleadings. Now that the record
has been fully-developed, the substantial accuracy of the
passages has been confirmed. Mr. Wilson's claim, it is now
clear, is premised not on the challenged passages themselves,
put on implications that allegedly derive from facially
accurate text. For the reasons discussed below, this claim
should be rejected.

a. The Factual Backdrop

Mr. Wilson's deposition testimony establishes the
accuracy of each of the challenged passages. As made clear in
the book, the events described in each of the passages took
place during the pendency of the conservatorship proceeding.
Specifically, the time frame of the first passage is early May,
1990, the day after the conservatorship suit was filed (see
book at 368), and the time frame of the second passage is the

first week of March, 1991, while the conservatorship proceeding

was pending (see book at 376, 380, 387).

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In his deposition, Mr. Wilson admitted that he did
not talk to and was "estranged" from his brother Brian during
these time periods. Mr. Wilson testified that he and Brian
became estranged sometime around 1983, that their estrangement
lasted for approximately ten years, and that their relationship
dia not begin to "heal" until after the conservatorship,
sometime around 1993. See Dep. Tr. 376-77, 543-44. Mr. Wilson
testified that during the period of their estrangement, he and
Brian were "seldom" in contact. Id. 377-78; see also 370-72.
Thus, Carl and Brian were not on speaking terms throughout the
time period in which each of these passages is said to have
occurred. Brian's statements that he perceived his brother to
be "shutting him out" and not talking to him are thus accurate,
truthful descriptions of what was happening in their
relationship at those points in time.

b. The Alleged Implications Are Not Actionable

Fach challenged passage thus simply and truthfully
sets forth the fact that Carl was not interacting with Brian
during the relevant time periods. Mr. Wilson's allegations
that these passages portray him as "callous" or "unconcerned"

are not supported by any explicit text so charging, and are

 

thus premised on implications allegedly deriving from truthful,
facially non-actionable text. Mr. Wilson is thus arguing
(although the Complaint fails to so acknowledge) that he has

been defamed by implication.

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"Defamation by implication" claims are strongly
disfavored in New Mexico and elsewhere in view of the serious
First Amendment concerns in holding defendants liable for
statements they did not make.'' Indeed, a growing number of
jurisdictions have adopted a per se rule that there can be no
defamation by implication." Such concerns are even greater,

where, as here, the alleged implications of callousness and

 

11. See, e.g-., Andrews, 119 N.M. at 484-85 (alleged
implication based on true factual statements cannot
constitutionally support a defamation claim); Chapin v. Knight-
Ridder, Inc., 993 F.2d 1087, 1092-93 (4th Cir. 1993) ("a libel-
by-implication plaintiff must make an especially rigorous
showing where the expressed facts are literally true"); Woods
v. Evansville Press Co., Inc., 791 F.2d 480, 487-88 (7th Cir.
1986) ("[a] publisher reporting on matters of general or public
interest cannot be charged with the intolerable burden of
guessing what inferences a jury might draw from an article and
ruling out all possible false and defamatory innuendoes that
could be drawn from the article"); Conroy v. Kilzer, 789 F.
Supp. 1457, 1462 (D. Minn. 1992) ("{hjolding media defendants
liable for statement they did not make raises serious first
amendment concerns"); Locricchio v. Evening News Ass'n, 438
Mich. 84, 122, 476 N.W.2a 112, 129 (1991) ("claims of
defamation by implication, which by nature present ambiguous
evidence with respect to falsity, face a severe constitutional
hurdle"); Strada v. Connecticut Newspapers, Inc., 477 A.2d
1005, 1011 (Conn. 1984) ("[a] publisher cannot be responsible
for every strained interpretation that a plaintiff might
attribute to its words"). See also Sassone v. Elder, 626 So.
2d 345, 354 (La. 1993) ("when the court looks not at what was
said, but at what impression was created, a media publication
can give rise to an infinite number of impressions").

12. See, e.g., Price v. Viking Penguin, Inc., 881 F.2d 1426,
1432 (8th Cir. 1989); Diesen v. Hessburg, 455 N.W.2d 446, 451-
52 (Minn. 1990), cert. denied, 493 U.S. 1036 (1990); Strada,
193 Conn. at 324, 477 A.2d at 1011; Schaefer v. Lynch, 406 So.
2d 185, 188 (La. 1981); De Falco v. Anderson, 209 N.J. Super.
99, 107, 506 A.2d 1280, 1284 (App. Div. 1986); Pietrafeso v.
D.P.I., Inc., 757 P.2d 1113, 1116 (Colo. Ct. App. 1988);
Mihalik v. Duprey, 11 Mass. App. 602, 606, 417 N.E.2d 1238,
1241 (Mass. App. Ct. 1981).

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lack of concern do not clearly and necessarily derive from the
challenged text; indeed, the first passage clearly yields
precisely the opposite implication -- that Carl was in fact
interested in speaking with Brian and would "catch [him]
later." See book at 371. These passages simply offer Brian's
perspective that Carl would not talk to him at certain
specified times. For these reasons, Mr. Wilson's defamation by
implication claim should be rejected as a matter of law.
However, even if the alleged implications are
cognizable, Mr. Wilson still bears the burden of establishing

that such implications, inter alia, are defamatory assertions

 

 

of fact. First, personal characterizations such as "callous,"
not "concerned," and not "loving" one's brother are simply not
the "stuff" of defamation. See Mitchell v. Random House, Inc.,
865 F.2d 664, 670 (5th Cir. 1989) (personal adjectives such as
"insensitive, unsympathetic or callous. . . do[] not suffice
for defamation"). That is, such characterizations do not have
a tendency to render a person "contemptible or ridiculous in
public estimation, or expose him to public hatred or contempt
or hinder virtuous men from associating with him." See

Bookout, 97 N.M. at 336, 639 P.2d at 1193 (1982).

 

13. See, e.g-, Cha in, 993 F.2d at 1094 (report of poor
financial condition does not necessarily imply dishonesty) ;
Sassone, 626 So. 2d at 354 (implication must at least be the
"principal inference" and not merely one of "[a]ny number of
equally plausible inferences") ; Locricchio, 438 Mich. at 130,
476 N.W.2d at 132 (no proof that "inescapable implication" of
news article was false).

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Moreover, such implications are inherently subjective
and unverifiable. They are, as such, not actionable. The

Supreme Court's decision in Milkovich requires that statements

 

"be provable as false" before there can be liability under
state defamation law. 497 U.S. at 19; see also Andrews, 119
N.M. at 486. Thus, "if it is plain that the speaker is
expressing a subjective view, an interpretation, a theory,
conjecture, or surmise, rather than claiming to be in
possession of objectively verifiable facts, the statement is
not actionable." Haynes, 8 F.3d at 1227.

For this reason, courts have uniformly treated
subjective assessments of people and events to be protected
statements of opinion, rather than assertions of objective
fact. See, e.g., Partington v. Bugliosi, 56 F.3d 1147, 1158
(9th Cir. 1995) (personal assessments of others are not
susceptible of being verified as true or false); Beverly Hills
Foodland, Inc. v. United Food and Commercial Workers Union, 39
F.3d 191, 196 (8th Cir. 1994) ("‘Unfair' is a term requiring a
subjective determination and is therefore incapable of factual
proof"); Communications Workers of America v. Archibeque, 105
N.M. 635, 638 (N.M. 1987) (characterizations such as "amoral,"
“totally void of character," and "an embarrassment" are not
actionable).

In view of these principles, inherently subjective

adjectives such as "callous" or "unconcerned" are simply not

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verifiable by objective facts, since such adjectives admit of
numerous interpretations and are thus not "susceptible of being
proved true or false." See Phantom Touring, Inc. v. Affiliated
Pubs., 953 F.2d 724, 728 (1st Cir.) (article describing play as
"a rip-off, a fraud, a scandal, a snake-oil job" not actionable
because adjectives not capable of objective verification),
cert. denied, 504 U.S. 974 (1992); Henderson v. Times Mirror

Co., 669 F. Supp. 356, 360 (D. Colo. 1987) (article describing

 

plaintiff as "sleaze-bag" who "slimed up from the bayou" is

protected opinion because such terms are incapable of factual

 

proof or disproof), aff'd, 876 F.2d 108 (10th Cir. 1989).

Thus, any "implication" by Brian that his brother is "callous"
or "unconcerned" reasonably could be understood only as Brian's
personal conclusion about the information presented, not as a
verifiable statement of fact about Mr. Wilson.

Finally, the opinion-nature of the challenged
statements is underscored by the context in which they are
found -- an autobiography (which includes "My Own Story" in the
title). This context makes plain that the book contains
Brian's personal perspective about the people and events in his
life. In concluding that statements in a book of a similar
genre (i.e., a lawyer's personal account of a trial in which he
was involved) were opinion, not fact, the Ninth Circuit

reasoned:

The purpose of the book is to offer the personal
viewpoint of the author [on issues on which he has

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knowledge]. . - - Indeed, readers presumably
purchased the book not to read a dry description of
the facts but to learn of [the author’s] personal
perspective about the [events]. . . . Because the
book outlines [the author’s] own version of what took
place, a reader would expect him to set forth his
personal theories about the facts .. . and the
conduct of those involved in them... .- (Otherwise, ]
authors of every sort would be forced to provide only
dry, colorless descriptions of facts, bereft of
analysis or insight.

Partington, 56 F.3d at 1147, 1153-54. ee also Goetz v.

 

 

Kuntsler, 625 N.Y¥.S.2d 447, 451 (1995) (the reader of an
autobiography would “realize that [the author] was voicing a
personal point of view”).

Similarly here, the purpose of Brian Wilson's
autobiography is to offer his personal viewpoint on issues on
which he has knowledge -- including his relationships with his
brother and with the Beach Boys. The book outlines Brian’s
version of the events, and predictably offers Brian’s
perspective. Indeed, it is that perspective which would likely
have encouraged readers to take up the book in the first

place. Brian's opinion may be painful to Carl, but it is

 

14. In addition, Milkovich teaches that when a speaker
truthfully sets forth the facts upon which an opinion is based,
that opinion is not actionable as a matter of federal
constitutional law. 497 U.S. at 19. In that context, opinions
are protected "[b]jecause the reader understands that such
supported opinions represent the writer's interpretation of the
facts presented, and because the reader is free to draw his or
her own conclusions based upon those facts." Moldea v. New
York Times Co., 22 F.3d 310, 317 (D.c. Cir.), cert. denied, 115
S. Ct. 202 (1994). See also Partington, 56 F.3d at 1156-57;
Chapin v. Knight-Ridder, Inc., 993 F.2d 1087, 1093 (4th Cir.

1993); Phantom Touring, Inc. Vv. Affiliated Pubs., 953 F.2d 724,
(continued...)

 

 

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nevertheless entitled to full constitutional protection. For

these reasons, the allegations of callousness and lack of

concern should be dismissed.

5. Mr. Wilson's Consultation With Others

Finally, Mr. Wilson alleges that two passages in the
book "falsely characterize him as an emotionally troubled, weak
individual who could be easily intimidated and/or controlled by
his wife, John Rogers,” Landy, and others," and "make[] it
seem like I am indecisive, don't have a mind of my own, that
I'm weak .. .." Complaint ( 20; Dep. Tr. 703; see also id.

443. These passages read as follows:

(1) My mom didn't want a funeral [for Dennis.] Like
me, she didn't believe in them. She didn't like the
sorrow. My only wish was that Dennis not be
cremated. Carl didn't know what to do. Before
making any decisions, he insisted on consulting with
John Rogers, a cult leader Carl referred to as his
spiritual master. However, it turned out that Shawn,
whose divorce from Dennis wasn't yet finalized, had
ultimate authority, and she decided that he'd be

buried at sea.

Book at 314; Complaint q 19.

 

14. (...continued)
730 (1st Cir.), cert. denied, 504 U.S. 974 (1992); Andrews, 119
N.M. at 487, 490. The deposition testimony of Mr. Wilson

discussed supra establishes that each passage upon which Mr.
Wilson bases his callousness allegation constitutes a truthful

recitation of the relevant facts. Accordingly, any opinion
offered by Brian that is premised on such facts is protected

speech.

15. Mr. Wilson's Complaint and the book refer to John Rogers,
while Mr. Wilson testified that this individual's name is John
Roger. See book at 314, 378-79; Complaint (§ 19, 20; Dep. Tr.
696.

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(2) It was the perfect opportunity for me to press
the issue. After all, I was in Montreal. Dr. Landy
was in L.A. I was performing on my own, making my
own decisions, even venturing out to art museums and

restaurants while Carl was holed up in his room,
avoiding the outside world, still drinking heavily,
blind to his own problems. .. -;

Even though he hated Gene, I knew he [Carl] was
telling the truth. He still hadn't decided where he
stood on the conservatorship issue. But then Carl
had trouble making even the simplest decisions. He
had always needed to consult with numerous people --
his wife, lawyers, his spiritual master, John Rogers.

Book at 378-79; Complaint @ 19.

Considered in their proper contexts -- the book's
description of Dennis Wilson's death and the conservatorship
proceeding -- the challenged passages are clearly limited to
specific events in Mr. Wilson's life and do not create any
reasonable inference as to Mr. Wilson's overall decision-making
capacity. Nor do they state or in any way imply that Mr.
Wilson is a weak and emotionally troubled individual; they
simply state that Carl had not made up his mind as to how
Dennis should be buried or where he stood on the
conservatorship issue. No reasonable reader would equate
indecisiveness on such specific, important issues as to how
one's brother should be buried or whether the other brother
should be subjected to a conservatorship proceeding with
"weakness" or "not having a mind of one's own." Indeed, it is
perfectly normal to consult with spiritual or religious

advisers and family members under such grave circumstances.

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Nevertheless, even if Brian's point of view can
fairly be stated to be that Mr. Wilson is indecisive or weak,
such characterizations are not actionable, as they are entirely
subjective and incapable of being verified by objective facts.
Indeed, Mr. Wilson admitted as much, agreeing that different
people could make different judgments as to whether or not a
given individual possessed such qualities. See Dep. Tr. 704-
05.

In any event, Mr. Wilson's deposition testimony
establishes the substantial truth of the passage. Mr. Wilson
testified that he has consulted with John Roger in the past,
and indeed consulted with him around the time of Dennis' death.
Dep. Tr. 696-702. He admitted that he would "share" with Mr.
Roger his feelings about people, the group, and his goals for
the group. Id. 698-700. He further confirmed that he had
consulted with Marilyn Wilson regarding personal issues,
including whether to re-engage Landy to treat Brian. See id.
728.

Cc. The Count III Passages Are Not Actionable

The passages that form the basis of Count III
allegedly injure Mr. Wilson's reputation by defaming the Beach
Boys. see Complaint {If 29-31. These passages are not

actionable for the following reasons.

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1. The Steve Love Passages Are Not Of and
Concerning Mr. Wilson or The Beach Boys and Are

Substantially True
Mr. Wilson challenges two passages that are directed
at Steve Love and concern neither Mr. Wilson nor the Beach
Boys. In setting forth these passages in the Complaint, Mr.
Wilson conveniently omits language which makes clear that the
passages are not directed at Mr. Wilson or The Beach Boys.

These passages read as follows:

(1) Steve Love was pushing everyone, especially me,
to step up the pace on the next album... At the
same time, Dr. Landy was trying to keep me within a
therapeutic regimen rather than let the guys take
over and put me to work full-time.

But there were priorities. Steve and the others
wanted to get out of the Warners contract while they
could still capitalize on the success of 15 Big Ones
somewhere else. Steve wanted the new LP done no
later than January 1, 1977. [Landy rejected that,
stating that Brian needed a month's vacation at
Christmas. ]

‘Can you explain why?' Steve askea.'®

tHe seems to be doing fine,' Mike added. '"

To both Love brothers,’ Landy [responded that
Brian needs to spend Christmas with his family.]

‘That's ridiculous to take so much time off
work,' Steve said. ..--:

Steve had his own agenda in mind, and Dr.
Landy's struck him as unreasonable. Tempers flared.
They called Dr. Landy a ‘control freak.' Dr. Landy
responded by telling the Beach Boys it was exactly
this kind of attitude that caused me to break in the
first place.' ..- -

‘He's supposed to make records,' Steve said.
\What the hell are we paying you for?'

 

16. Omitted from Complaint.
17. Omitted from Complaint.

18. Omitted from Complaint.

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‘To make him well,' Dr. Landy replied. ‘The
fact is he made one record already, more than the
Beach Boys have done in four years. But he can only
make records when he's well, something not one of you
seems to understand. '

Book at 239-40 (emphasis added) ; Complaint { 30.

(2) ‘Listen, Marilyn,' Dr. Landy said. ‘I think
Brian needs to do Christmas. That's what I think.

I'm sure that's what you'd prefer. Now Steve just
wants to get that goddamn album made, which can wait
till January. And Carl, you can tell him for me that
he should stop being so jealous of his brother. ''

Later, Dr. Landy finally spoke with Steve, who
came right out and said he was fired.

Yyou guys don't understand,' said Dr. Landy.
‘If I'm not in the studio, you're not going to get
anything out of Brian.'

‘Not true,' Steve countered. ‘Brian's going to
work. He'll work. We're all working. The group's
going to finish their albun.'

 

 

Book at 242-43 (emphasis added) ; Complaint { 30.

A reading of the first passage in its entirety makes
plain that the views reflected are those of Steve Love -- who
was not a member of the Beach Boys, but served as the group's
manager for a brief period of time (see book at 232; Dep. Tr.
386, 751-52) -- (and Mike Love to a lesser degree), not those
of The Beach Boys and certainly not those of Carl.

The second passage suffers from the same infirmity.
The first paragraph of that passage -~ which was conveniently
omitted from the Complaint -- clearly separates the point of
view attributed to Steve from that of Carl. Read in its

entirety, this passage makes plain that Steve, and Steve alone,

 

19. First paragraph omitted from Complaint.
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was pushing to have the album made. No fair reading of this
passage could ascribe those views to Mr. Wilson, and Mr. Wilson
essentially admitted as much:
Q: That reference [on page 243 of the book] is steve
being anxious to get the album made. It doesn't say
Steve and Carl, does it?
A: No, that doesn't.
Q: It doesn't.

A: That, what you said doesn't, no, it says what you
said it said.

Q: And the next passage nowhere references you by name,
does it?
A: I don't see my name, that's true.

Dep. Tr. 684-85.

Nevertheless, Mr. Wilson's testimony establishes its
substantial truth. Mr. Wilson admitted that Steve Love fired
Landy, that Steve was employed "by all of us individually and .
. . perhaps for the company as well," that Carl was aware of
the decision to fire Landy, that he aid not communicate his
objection to the firing of Landy, and that he viewed Landy as
"doing everything for his own financial gain." Id. 679, 682.
Mr. Wilson admitted that he was not present for this
conversation, and thus cannot speak to whether or not it
occurred. Id. 683. He further admitted he nwasn't really

around that much" during that period of time because he had

injured his back. Id. 680.

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2. The "Pressuring Brian" and "Use of Studio"
Passages Are Not Defamatory and Are
Substantially True

Mr. Wilson alleges that the following passages
falsely suggest that The Beach Boys: "deliberately exploited"
Brian “in order to earn more money for themselves;" "coerced
Brian to write songs and produce records even though the group
knew that doing so would damage Brian Wilson's mental health;"
"opposed [Brian] Wilson's therapy with Dr. Landy solely because
it was interfering with the group's ability to coerce Brian
Wilson to make records with them; “had no further regard for
Brian Wilson's mental and physical health" once the new record
deal was signed; and "almost killed Brian Wilson by requiring

him to work on songs and albums when he was not healthy enough

to do so" (Complaint { 30):

(1) After roughly two months, Dr. Landy introduced
the piano. From the start of the treatment, the
Beach Boys had been pressuring him to get me to a

point where I could write and produce again. That's
all they wanted. But Dr. Landy resisted. Becoming a
Beach Boy again, he explained repeatedly, wasn't the
goal of therapy. +: +

Dr. Landy changed our daily meeting site from my
mansion to Brother Studios, the Beach Boys' own
recording studio. He booked ninety minutes of piano
time for me every day- +: °

Dr. Landy made sure the studio was empty.
Despite previous explanations, the Beach Boys,
especially Mike, made no secret that they were
anxious to put me back to work writing songs. But
Dr. Landy kept them at bay.

Book at 223-24; Complaint { 30.

(2) Mike was the first to register a complaint
[about the "therapy" piano sessions with Dr. Landy].
He said I was using the studio unproductively. carl

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agreed. He said the music we were making sounded
crazy.

Book at 225; Complaint { 30.

(3) Dr. Landy told the Beach Boys I wasn't ready to
cope with the pressure of making an album. I was
still too fragile. They didn't see it that way and

began complaining about the studio time he and I were
using, time they could have been renting to other
people.

‘you want Brian back?" Landy asked. ‘Or do you
want to make a couple hundred bucks a week? What's

more important?'

When they saw that Dr. Landy had begun recording
our piano sessions, they asked for the masters. Dr.
Landy refused to turn them over. They were part of

my therapy, privileged.
[Mike and Carl secretly taped recording sessions

and Landy and Brian found out.]

But that was only the beginning of war with the

Beach Boys.

Book at 226-27; Complaint q 30.

songs with Mike again? It had nearly killed me

several times before.
Book at 373; Complaint q 30.

First, the fourth passage set forth above relates
exclusively to Mike Love and is simply not of and concerning
Carl or The Beach Boys. It is, as such, not actionable.
Neither are the first three passages, as they simply do not
support Mr. Wilson's allegations regarding exploitation,
coercion, and "almost killing" Brian. The passages make no
such assertions; rather they merely set forth Brian's
perspective that The Beach Boys dia not regard favorably

Landy's use of the studio for therapy and pressured Brian to

recover to the point where he would be able to write and

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| | (4) What could be better for me than to be writing

 
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produce. These statements -- including any alleged implication
as to Mr. Wilson's acquiescence ~~ are substantially true, as
follows.

a. pressuring Brian to Write _and Produce

 

Mr. Wilson admitted that the "proper level of
involvement of Brian and the Beach Boys business" had been
“absolutely” discussed. Dep. Tr. 380. He testified that "Mike
Love's view has been that we [the Beach Boys] had an agreement
for a certain level of involvement [on the part of Brian] and
then, you know, something other than that agreement
transpired." Id. 381. He testified that Mike Love viewed the
logical consequence of Brian's reduced involvement to be a
reduction in Brian's financial participation. Id. Mr. Wilson
admitted that during the 1980s, Mike Love wanted Brian to write
more songs with him; that “Michael always wants to write with
Brian. He always want[s] to work with Brian, or play or
whatever.” Id. 383-84, 754-55. He admitted that Al Jardine
wanted Mike and Brian to write together. Id. 384-85. These
facts substantiate Brian's perception that the Beach Boys

pushed Brian to work.

As to Mr. Wilson's acquiescence in such pressure, Mr.
Wilson admitted that he never communicated to Brian any
contrary view he may have had (that is, that Brian should not
be pushed to work) because he "wasn't really in the loop on

that[;] wasn't really a part of Mike and Brian's, do you want

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to write, do you not want to write." Dep. Tr. 385. In fact,
Mr. Wilson testified that he wasn't communicating much with
Brian during this time period. Id. 755. Mr. Wilson
nevertheless asserted that Brian could not have perceived
pressure he was receiving from Mike Love or anyone else as
reflecting his own perspective because "He [Brian] knew, he
knew better [and knew] that I [Carl] was, you know, behind hin,
supportive to him, not greedy." Id- Yet Mr. Wilson could not
say how he had overtly manifested his support for Brian during
that period of their "estrangement." Id. In sun, Mr. Wilson's
testimony supports any inference that Carl did not take action

to protect Brian from any pressure he may have felt.

b. Brian's and Landy's Use of the Studio for
Therapy

Mr. Wilson admitted that Landy used the studio for
therapy in 1976, and that Mike Love complained about such a use
of the studio and had "observe[d] that it was -- that it would
be perhaps an expensive way to play the piano." Dep. Tr. 748-
49. Mr. Wilson admitted that he was aware that Brian and Landy
were using the studio for therapy, that Mike Love complained
about such use, and that Carl "wasn't very involved" at that
time, and that jt would be "unlike" him to speak out against

Mike's views. See Dep. Tr. 748-49, 751-

Moreover, Mr. Wilson admitted that he could have made
one or more statements which could have been interpreted as

supporting Mike's and Steve's points of view that use of the

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studio for therapy was unproductive: "I think there was
perhaps a moment when something that I said was used to support
what Steve wanted perhaps or what Mike wanted." Dep. Tr. 757.
Mr. Wilson further testified that it "is within the realm of
possibility, of course," that Carl could have made a statement
to Mike or Steve that they "construed as your [Carl] agreeing
that the use of the studio for therapy was an unproductive
use." See id. 760.
c. Music "Sounded Crazy" Passage

When asked in his deposition how the statement
attributed to Carl that "the music we [Landy and Brian] were
making sounded crazy" diminished his reputation, Mr. Wilson
answered: “It suggests that I am unsupportive, uncaring,
trying to get in the way of his therapy, callous, greedy about
the studio." Dep. Tr. 762. This interpretation is entirely
contrived, as a statement reflecting one's opinion as to the
sound and quality of another's music cannot in any way be
interpreted to mean that the person giving the opinion is
"unsupportive, " "uncaring," "callous," or "greedy."

Moreover, musical taste is inherently subjective, and
Mr. Wilson admitted as much. Id. 747. Mr. Wilson further
admitted that he may have used the term "crazy" in reference to
Brian's music and that Brian may have misunderstood him. Id.
761-62 ("it's possible that Brian said here, let's get this

crazy song, and II said yeah, that's a crazy song. And then it

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was used in this way, in that sentence"). Carl was thus unable
to deny that Brian could have heard what he heard and
misconstrued Carl's intention. Id. 762.

3. Brian Is Back Campaign

Mr. Wilson challenges the following passages:

We were dumbfounded. Then angered. We'd been had.
It turned out Mike had been working for months on
this huge publicity campaign heralding my return.
He'd written a terrible song, "Brian's Back,' and
sold Warner Brothers on a publicity campaign designed
to exploit the fact that I'd produced the Beach Boys'
latest album. No one had mentioned a word to me.

Nor to Dr. Landy. Everyone knew except uS. «=. -

It wasn't enough for me to write and produce songs.
Now they had to sell my illness publicly too.

5 Book at 232 (emphasis added) ; Complaint q 30.
I understood and agreed with the concept, which was
s more than I could say about the Brian is Back
campaign.
, | Book at 239; Complaint { 30.

These passages are simply not of and concerning Carl.

The first passage focuses on Mike Love engineering the

 

publicity campaign, writing the song, and selling the campaign
to Warner Brothers. The second passage is not of and
concerning anyone; it simply sets forth Brian's feeling about
the "Brian is Back" campaign.

Mr. Wilson asserts that this passage defames him by
suggesting his participation in "a conspiracy and a whole
series of plans, and that [he] was willing to exploit {his}
prother's illness for financial gain." Dep. Tr. 694. Yet Mr.

Wilson testified that he never verbally or in writing stated an

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objection to the campaign going forward, or even expressed his
disapproval. Id. 694-95. In fact, Mr. Wilson testified that
he was actually out of commission during that period of time
from his back injury and was not present at the Warner Brothers
meeting referenced in that passage. Id. 695-96. Finally, Mr.
Wilson would not affirmatively testify that he doubted Brian's
reaction to the "campaign" as "turning his illness into a bit
of a publicity tool." Id. 693-94.

4. Abusive Bodyguards

Mr. Wilson challenges the following passages,
alleging that they falsely suggest that "the Beach Boys allowed

their bodyguards to abuse and intimidate Brian Wilson" (see

Complaint { 30):

One morning Stan and Steve, my tenders, appeared
at my bedside. I stared up at them blank-faced. TI
hadn't spoken a word to anyone for the past week, and
I didn't plan to start.

‘Get out of bed!' Stan barked, yanking back the
covers.

The sudden movement scared me. I put my hands
over my face.

‘Don't hit me, I pleaded.'

'Then get out of bed,' Stan said.

Stan and Steve handled me as they would a
truculent child at summer camp, threatening, pushing,
and goading me into one frightening situation after
another. Stan finally went to Marilyn and said he
and Steve needed help.

{Rocky was hired.] Rocky was put on salary at
$40,000 a year and later raised to $50,000. Clearly,
Marilyn liked his qualifications.

My life became hell under these three hypermacho

watchdogs.

Book at 246-47; Complaint q 30.

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For the most part, Stan and Rocky intimidated
me. They towered over me. Chided me for being
overweight. Both screamed at me, ‘You goddam fat,
lazy fucking rock star! You chickenshit! When are
you going to straighten the fuck up and get your shit
together? You fucking pussy!'

Against my wishes the Beach Boys ordered them to
drag me on several tour dates early that summer.
Every afternoon my bodyguard took me to a local YMCA
to play basketball. -.- -

In the elevator, Stan pushed me into a corner.
He clenched his fist and pushed it into my chest.

‘You fucking rock star,' he growled. ‘You
goddamn, fucking obese rock star. You fucking

disgust the shit out of me.'
As he chided me, Stan pounded his fist into my

chest. . . -
In a state of regression and constant fear, I

obeyed like an abused dog.
Book at 247-48; Complaint § 30.

The first passage is not of and concerning the Beach
Boys or Carl. It does not mention either by name; Stan and
Steve are Mike Love's brothers and neither has ever been a
member of the Beach Boys (Steve Love served only briefly as The
Beach Boys' manager in the 1970s). See Dep. Tr. 386, 750-52.

Both passages are nevertheless substantially true, as
is any inference that the Beach Boys allowed Brian to be
abused. Carl testified that Stan Love and Rocky Pamplin
"accompanied Brian for a time at, I think at different times,"
and that both individuals had exhibited violent behavior, of
which Carl was aware. Dep. Tr. 388, 685-87. Indeed, Mr.
Wilson admitted that Rocky had "slugged [Carl] and knocked

[him] out," and that both Rocky and Stan had assaulted Carl's

and Brian's brother, Dennis. See id. 686-87. Mr. Wilson

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further testified that he was aware that Brian felt intimidated
or belittled by Stan and Rocky, and that he (Carl) was engaged
in periods of heavy drinking during the time in which Stan and
Rocky were serving as Brian's bodyguards. Id. 689-690.
The objective evidence of Stan's and Rocky's behavior
-- beating up Carl and Dennis on different occasions -- is
consistent with the portrayal of them in this passage. With
respect to the Beach Boys, Carl's testimony establishes that he
knew that Rocky and Stan were violent individuals, and that, in
spite of such knowledge, neither Carl nor the group opposed
their accompanying of Brian. Thus, any perception on the part
of Brian that the Beach Boys had "allowed" Stan and Rocky to
"intimidate" him is thus grounded in the truth.
5. The Remaining Passage is Not Defamatory
Finally, Mr. Wilson challenges the following passage:
My band mates were not bothered because I hung around
with strange people, took drugs, behaved in ways that
defied convention, and had a marriage that was truly
weird. Their problem was accepting what I was doing
to the Beach Boys' music. They were afraid I was
fucking up the formula that had made all of them
wealthy and famous, and that wasn't kosher.
Book at 148. Mr. Wilson fails to identify how this passage
defames him or the Beach Boys. Nor could he do so, as this
passage is clearly not susceptible of any defamatory meaning
and is simply Brian's subjective point of view about the Beach

Boys' reaction to Brian's new style of music. Accordingly,

this passage is not actionable.

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CONCLUSION

 

For the foregoing reasons, summary judgment should be
entered in favor of HarperCollins as to the Second and Third
Claims for Relief.

WHEREFORE, HarperCollins prays for judgment
dismissing the Second and Third Claims for Relief and for the
award of its costs and expenses, and such other relief as the
Court deems just and appropriate.

Dated: January 31, 1997

WEIL, GOTSHAL & MANGES LLP
R. Bruce Rich
Elizabeth Stotland Weiswasser

767 Fifth Avenue

New York, New York 10153
Telephone: (212) 310-8000

wy DL Le Le
R. Bruce Rich
- and -
RODEY, DICKASON, SLOAN,
AKIN & ROBB, P.A.
William S$. Dixon
Post Office Box 1888
Albuquerque, New Mexico 87103
Telephone: (505-765-5900)

Attorneys for Defendant,
HarperCollins Publishers Inc.

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I hereby certify that a copy of the foregoing was sent via
federal express to Ernesto J. Romero and to Beth F. Dumas this

Yaist day of Ween. 1997 at the following addresses:
"

Ernesto J. Romer

3602 Campus Boulevard, NE
Albuquerque, New Mexico 87106

Beth F. Dumas
Langberg Cohn & Drooz
1210 Wilshire Boulevard
Suite 1650
os Angeles, California 90025
By (

Ye yy p——

ELipabeth stotland Weiswasser

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